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                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT
                          1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                             April 14, 2023

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                                    RESPONSE REQUESTED
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        No.    23-1059,             South Carolina State Ports Authority v. NLRB
                                    10-CC-276241,10-CE-271046,10-CE-271053,10-CC-
                                    276207,10-CE-276221,10-CC-276208,10-CE-
                                    271047,10-CE-271052, 10-CE-276185

        TO:     International Longshoremen's Association, Local 1422
                International Longshoremen's Association

        RESPONSE DUE: 04/19/2023

        Response is required to the motion for additional argument time on or before
        04/19/2023.

        Tony Webb, Deputy Clerk
        804-916-2702
